         Case 1:22-cv-04163-ENV-RML Document 12 Filed 12/19/22 Page 1 of 3 PageID #: 62




                                                       The City of New York                                                       David Choi
                                                                                                                Assistant Corporation Counsel
Hon. Sylvia O. Hinds-Radix                             Law Department                                      Labor & Employment Law Division
                                                                                                                       Phone: (212) 356-1941
Corporation Counsel                                      100 CHURCH STREET                                         Email: dchoi@law.nyc.gov
                                                         NEW YORK, NY 10007                                   Email Not for Service of Papers



                                                                                                   December 19, 2022
          BY ECF
          Honorable Eric N. Vitaliano
          United States District Judge
          Eastern District of New York
          225 Cadman Plaza East
          Brooklyn, New York 11201

                                    Re:      Bernard McIlwain v. The City of New York, et al.
                                             1:22-cv-04163 (ENV)(RML)
                                             Our No. 2022-058943

          To Judge Vitaliano:

                        I am an Assistant Corporation Counsel in the office of the Hon. Sylvia O. Hinds-
          Radix, Corporation Counsel of the City of New York, attorney for Defendants City of New York
          (“City”) and New York City Department of Education (“DOE”) 1 in the above-referenced action.
          In accordance with Your Honor’s Individual Practices and Rules, Defendants respectfully request
          a pre-motion conference to discuss its anticipated motion to dismiss the Complaint.

                          Plaintiff, an Assistant Principal formerly employed by DOE, was terminated in
          2018 for engaging in financial fraud. Plaintiff challenged his termination through an Article 75
          proceeding in New York State Court, but his petition was dismissed. Now, via 42 U.S.C. § 1983,
          Plaintiff asserts claims of First Amendment retaliation, as well as violations of the Fourteenth
          Amendment for (1) denial of due-process, (2) denial of equal protection, and (3) stigma plus.
          Plaintiff also advances a common law fraud claim. For the reasons outlined below, Defendants’
          intend to move to dismiss Plaintiff’s Complaint in its entirety for failure to state a claim.

          A. Instant action is barred by the three-year statute of limitations applicable to § 1983 claims

                         Claims brought pursuant to 42 U.S.C. § 1983 are subject to a three-year statute of
          limitations period. See Pearl v. City of Long Beach, 296 F.3d 76, 79 (2d Cir. 2002). Plaintiff
          commenced this action on July 15, 2022. See Compl., ECF Dk. No. 1. Accordingly, all allegations


          11
            To date, upon information and belief, individually-named Defendants Charity Guerra, William Jusino, Karen
          Watts, and Salvatore Mancuso have not been served in this matter. Consequently, this letter does not address all
          exhaustive arguments in response to the Complaint.
Case 1:22-cv-04163-ENV-RML Document 12 Filed 12/19/22 Page 2 of 3 PageID #: 63




concerning acts that took place on or prior to July 15, 2019, including his October 29, 2018
termination, are time-barred as to § 1983 claims.

B. Plaintiff’s First Amendment Retaliation Claim Fails

                In order to establish a First Amendment retaliation claim, an employee must prove
that: “[s]he has engaged in protected First Amendment activity, [s]he suffered an adverse
employment action, and there was a causal connection between the protected activity and the
adverse employment action.” Anemone v. Metro. Transp. Auth., 629 F.3d 97, 114 (2d Cir. 2011)
(internal quotation marks omitted). In determining whether a public employee engaged in
constitutionally protected speech, a court must determine “whether the employee spoke as a citizen
on a matter of public concern.” Garcetti v. Ceballos, 547 U.S. 410, 418 (2006); Sousa v. Roque,
578 F.3d 164, 170 (2d Cir. 2009) (quoting Garcetti). “If the answer is no, the employee has no
First Amendment cause of action based on his or her employer’s reaction to the speech.” Garcetti,
547 U.S. at 418. Determining whether an employee spoke as an employee and not as a citizen is
“largely a question of law for the court.” Sacha v. Sedita, 2012 U.S. Dist. LEXIS 151561, at *13
(W.D.N.Y. Oct. 21, 2012) (citation omitted). The key distinction is whether the speech was made
pursuant to the employee’s official duties or was not required by those duties. Garcetti, 547 U.S.
at 426.
                The speech Plaintiff relies upon for his retaliation claim was made pursuant to his
official duties and responsibilities as a teacher, and therefore is not protected speech. See
Weintraub v. Board of Education, 489 F. Supp. 2d 209, 214 (2006); Massaro v. N.Y. City Dep’t
of Educ., 481 Fed. Appx. 653, 655 - 656 (2d Cir. N.Y. 2012) (a school teacher’s complaints to
school administrators about internal safety conditions were not protected under the First
Amendment because the complaints concerned her duties as a teacher). Under Garcetti, as applied
by the Weintraub Court, this principle applies to complaints made within the workplace or filed
outside the workplace, such as with a union. Id. at 215. Here, Plaintiff claims that he was retaliated
against for making a complaint to the Special Commissioner of Investigation, about a co-worker
who he believed was harassed by Defendant William Jusino. See ECF Dkt. No. 1, ¶¶ 33, 35. Under
Garcetti, the speech underlying Plaintiff’s retaliation claim was made in his capacity as an
employee, rather than as a private citizen, and therefore is not protected under the First
Amendment.

   C. Plaintiff’s Procedural Due Process and Liberty Claims Must Be Dismissed

                In order to sustain a § 1983 claim based on an alleged violation of due process, a
plaintiff must show that (1) he possessed a liberty or property interest protected by the Constitution
or federal statutes and (2) he was deprived of that liberty or property interest without due process.
Ciambriello v. County of Nassau, 292 F.3d 307, 313 (2d Cir. 2002) (citing Green v. Bauvi, 46 F.3d
189, 194 (2d Cir. 1995)). The crux of plaintiff’s complaint lies in a challenge to Defendant’s
authority to charge him as part of an internal disciplinary investigation, a challenge that has already
been made and decided in state court, after disciplinary charges and specifications have already
been served, and hearing conducted. “[T]he Second Circuit has ‘held on several occasions that
there is no due process violation where, as here, pre-deprivation notice is provided and the
deprivation at issue can be fully remedied through the grievance procedures provided for in a
collective bargaining agreement.” Adams v. Suozzi, 517 F.3d 124, 128 (2d Cir. 2008). Plaintiff’s
Complaint shows that he was provided notice of his charges, participated in his disciplinary

                                                  -2-
Case 1:22-cv-04163-ENV-RML Document 12 Filed 12/19/22 Page 3 of 3 PageID #: 64




hearing, and further availed himself of the proper recourse through a post-deprivation Article 75
hearing. Anemone v. Metro. Transp. Auth., 629 F.3d 97, 121 (2d Cir. 2011) (“An Article 78
proceeding provides the requisite post deprivation process for a stigma plus claim.”).

                To prevail on his liberty interest claim Plaintiff must establish the elements of what
is referred to as a “stigma-plus” claim. To prevail on a “stigma-plus” claim, Plaintiff must show
that: (1) defendants made false and stigmatizing statements about him that call into question his
good name, reputation, honor or integrity; (2) a tangible and material state-imposed burden in
addition to the stigmatizing statement, and (3) that the stigmatizing statements were made public.
Vega v. Lantz, 596 F.3d 77, 81 (2d Cir. 2010); Segal v. City of New York, 459 F.3d 207, 212
(2006). Even assuming that plaintiff could satisfy the first element, which defendants do not
concede, Plaintiff’s stigma plus claim fails for two reasons. First, as he was not deprived of a
property interest, he cannot demonstrate that he was the subject of a tangible and material state-
imposed burden. Second, he does not allege that the any false and stigmatizing statements were
made public in the course of DOE’s termination of him.
   D. Plaintiff’s Fourteenth Amendment Equal Protection Claim Fails

                “To maintain an equal protection claim, a plaintiff must show adverse treatment of
individuals compared with other similarly situated individuals and that such selective treatment
was based on impermissible considerations such as race, religion, intent to inhibit or punish the
exercise of constitutional rights, or malicious or bad faith intent to injure a person.” Miner v.
Clinton County, 541 F.3d 464, 474 (2d Cir. 2008). Plaintiff alleges no such facts and has not
identified any similarly situated individuals that were purportedly treated differently, much less
any facts to support an argument that such difference was based on impermissible considerations.

   E. Plaintiff’s Common Law Fraud Claim Fails for Filing A Late Notice of Claim

                Pursuant to New York Education Law § 3813(1), filing a notice of claim within
ninety (90) days, or three months, of accrual of any claim is a condition precedent to suit against
DOE or its school officers. See Parochial Bus Systems, Inc. v. Board of Education, 60 N.Y.2d
539, 547 (1983). Plaintiff served a Notice of Claim by mail on September 15, 2021. Accordingly,
any claim that arose more than 90 days before September 15, 2021, is untimely, including
Plaintiff’s claim of fraud related to his termination.

   F. Conclusion

               Accordingly, Defendants request a pre-motion conference to discuss their proposed
motion to dismiss. Additionally, Defendants request a stay of discovery pending the disposition
of their motion practice to dismiss the complaint. See D.L. Cromwell Invs., Inc. v. NASD
Regulation, Inc., No. 02 CV 3823 (LAK), 2002 U.S. Dist. LEXIS 11937, *2 (S.D.N.Y. 2002).

                                                              Respectfully submitted,

                                                              [ECF]_____ /S/_____         _
                                                              David Choi
                                                              Assistant Corporation Counsel

                                                 -3-
